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AO 2458 (CASDRev. 08113) Judgment in a Criminal Case


                                    UNITED STATES DISTRICT COURT
                                                                                                                                ..   i
                                         SOUTHERN DISTRICT OF CALIFORNIA
              UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                               V.                                    (For Offenses Committed On or After November 1, 1987)
            CHRISTIAN DARWIN WILCOX (13)
                                                                        Case Number:         14CR3537-BAS

                                                                     VICTOR TORRES
                                                                     Defendant's Attorney
REGISTRATION NO.                   48901298
 o­
 I2SJ pleaded guilty to count(s)      ONE (1) OF THE INDICTMENT

 o was found guilty on count(s)
    after a olea of not guilty.            .           . .'. . ..' .       ..       . .' . '.  .
Accordingly, the defendant is adjudged guilty of such count(s); which involve the follo~ing offense(s);
                                                                                                                      Count
 Title & Section                    Nature of Offense                                                                Number(s)
 18 USC 1962(d)                     CONSPIRACY TO CONPUCTENTERPRISE AFFAIRS                                                 1
                                    THROUGH A PAUERNOF RACKETEERING ACTIVITY




     The defendant is sentenced as provided in pages 2 through                  4           of this judgment.
 The sentence is imposed pursuant to the Sentencing Refqrm Act of 1984.
 o The defendant has been found not guilty on count(s)
 o Count(s)                                                   is .          dismissed on the motion of the United States.

 I25'l   Assessment: $100.00



 IZI No fme                    0 Forfeiturepursuantto order filed                                               ,included herein.
        IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
 change of name, residence, or mailing address. until all fme~,restitution, costs, and special assessments imposed by this
 judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
 any material change in the defendant's economic circumstances.


                                                                      OCTOBER 19.2015
                                                                      DtieOfbnpoomono~

                                                                      HO~.ASHANT
                                                                      UNITED STATES DISTRICT JUDGE



                                                                                                                     14CR3537-BAS
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AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:                CHRISTIAN DARWIN WILCOX (13)                                            Judgment - Page ~ of 4
CASE NUMBER:              14CR3537-BAS


                                                 IMPRISONMENT
 The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of:
 TWENTY ONE (21) MONTHS.




 o      Sentence imposed pursuant to Title 8 USC Section 1326(b).
 o      The court makes the following recommendations to the Bureau of Prisons:




 o      The defendant is remanded to the custody oithe United States Marshal.

  o     The defendant shall surrender to the UnitedStates· Marshal for this district:
        o    at                             A.M..             on
        o
                -----------------
             as notified by the United States Marshal ..
                                                                   ------~--~------------------------



        The defendant shall surrender for service ofsentence at the institution designated by the Bureau of
  o     Prisons:
        o    on or before
        D    as notified by the United States Marshal.
        o    as notified by the Probation or Pretrial Services Office.

                                                        RETURN
  I have executed this judgment as follows:

        Defendant delivered on                                           to
                                 ------------------~--~--                     ~-----------------------------
  at                                       , with a certified copy of this judgment.
       ----------------------~



                                                                   UNITED STATES MARSHAL



                                      By                    DEPUTY UNITED STATES MARSHAL


                                                                                                        14CR3537-BAS
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  AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

    DEFENDANT:                   CHRISTIAN DARWIN WILCOX (13)                                                                   Judgment - Page :3 of 4
    CASE NUMBER:                 14CR3537-BAS

                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
       substance abuse. (Check, ifapplicable.)                                                  .
       The defendant shall not possess a firearm, ammuniti()n, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA samplefromthe defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Actof2000,pursuantto 18 USC section 3583(a)(7) and 3583(d).
       The defendant shall comply with therequirements ofthe Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o      seq.) as directed by the probation officer, the Bureau ofPrisons, or any state sex offender registration agency in which he or she
       resides, works, is a student, or was convicted ofa qualifying offense. (Check ifapplicable.)
o      The defendant shall participate in an approvedprogratn for domestic violence. (Checkifapplicable.)

          If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commenceni~nt ofthe term of supervised release in accordance with the Schedule of
     Payments set forth in this judgment.                     . . . .
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.   .            ..
                                          STANDARD CONDITIONS OF SUPERVISION
     1)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)  the defendant shall report to the probation officer in a manner and frequency directed by.the court or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the mStructions of the probation officer;
     4)  the defendant shall support his or her dependents and meet otherfaIni1y resp<)nsibilities; .
     5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptabl~
         reasons;
     6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substalilce or
         any paraphernalia related to any controlled substances; except as pn:scribed by a physician;
     8) the defendant shall not frequent places where controlled substances     are illegally sold, used, distributed, or administered;
     9) the defendant shall not associate with any persons engaged mcriminal activity and shall not associate with any person convicted of a felony,
         unless granted permission to do so by the probation officer; .
     10) the defendant shall pennit a probation officer to visit him or her at any time at home or. elsewhere and shall permit confiscation of any contraband
          observed in plain view of the probation officer;                       .
                                                                                 .           .                                                           .
      11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
      12) the defendant shall not enter into any agreement to aetas an wonner or a special agentof a law enforcement agency without the permission of
          the court; and
      13) as directed by the probation officer, the defendant shall noti:ry third parties of risks that may be occasioned by the defendant's criminal record or
          personal history or characteristics and, shall permit the probation officer to make such notifications and to confinn the defendant's compliance
          with such notification requirement .



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DEFENDANT:            CHRISTIAN DARWIN WILCOX (13)                                          Judgment - Page 4 of 4
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                               SPECIAL CONDITIONS OF SUPERVISION

   1. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
      and counseling, as directed by the probation officer. Allow for reciprocal release of information between
      the probation officer and the treatment provider. May be required to contribute to the costs of services
      rendered in an amount to be determined by the probation officer, based on ability to pay.

    2. Submit your person, property, residence, office, social media accounts, or vehicle to a search, conducted
       by a United States Probation Officer at a reasonable time and in a reasonable manner, based upon
       reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit
       to a search may be grounds for revocation; the defendant shall warn any other residents that the premises
       may be subject to searches pursuant to. this condition.

    3. Provide complete disclosure of personal andl:msiness financial records to the probation officer as
       requested.

    4. Shall not knowingly associate'with
                                      .
                                          any known member, prospect, or associate of the Tycoons, Add It
                                                   "                '


       Up, or any other gang, or club.with a history of criminal activity, unless given permission by the
       probation officer.


    5. Shall not wear or possess any paraphernalia, insignia, clothing, photographs, or any other materials
       associated with a gang, unlessgivenpennission by the probation officer.


    6. Shall not knowingly loiter, or be present in locations known to be areas where gang members
       congregate, unless permission by the probation officer.


    7. Do not operate a motor vehicle unless properly licensed and insured.

    8. Shall not knowingly associate with prostitutes or pimps andlor l()iter in areas frequented by those engaged
       in prostitution and sex trafficking.




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